             Case 2:22-cv-00389-DCN Document 27 Filed 03/06/23 Page 1 of 1




                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF IDAHO


     CODY J. SCHUELER, an individual,

              Plaintiff,

              v.                                                 Case No. 2:22-cv-00389-DCN

     FOUR SQUAREBIZ, LLC, a Wyoming
     limited liability company, KEITH O.
     CREWS, an individual and the associated
     marital community, MICAH EIGLER, an
     individual and the associated marital
     community, and JOHN AND JANE
     DOES 1–10,

              Defendants.


                             CLERK’S SECOND ENTRY OF DEFAULT

           Pursuant to Fed. R. Civ. P. 55(a), it appears by affidavit or otherwise from the

records in the above-entitled action that summons and complaint have been served upon

the Defendant named below. It further appears that the Defendant has failed to plead or

otherwise defend in said action, as directed in said summons and as provided in the Federal

Rules of Civil Procedure. The Defendant, MICAH EIGLER,1 is therefore in default.

           DATED: 3/6/23

                                                                 Stephen W. Kenyon,
                                                                 Clerk of the United States District Court
                                                                 District of Idaho

                                                                 By: _/s/ Annie Williams__
                                                                           Deputy Clerk

1
    This entry is also applicable against the Defendant’s marital community.


CLERK’S SECOND ENTRY OF DEFAULT – PAGE 1
